j U.S. DISTRICT COURT
Case 3:15-cr-00307-M Document 841 Filed 09/21/20 Page 1 ofl4 nage) 3034cr oF TEXAS
FILED
IN THE UNITED STATES DISTRICT COURT | sco oS
FOR THE NORTHERN DISTRICT OF TEXAS SEP 21 2020

DALLAS DIVISION | CLERK, US. DISTRICT COURT

 

 

Criminal No.: 3:15-cr-00307-M(13)

Nicole Leedy

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United States of America

 

MOTION TO CORRECT CLERICAL ERROR PURSUANT TO
FEDERAL RULES OF CRIMINAL PROCEDURES RULE 36

 

Comes now defendant Nicole Leedy, pro se, seeking pursuant to
Fed. Crim. Procedure Rule 36 to correct a clerical error in the
judgement, order, and other part of the record, arising from over-
sight or omission. The rule applies, however, only to clerical errors
and not substantive matters. Ynited States v. Mackay, 757 F.3d 195,
197-200 (5th Cir. 2014). Here the Defendant was under the impression the judge
sentencing her for all related drug cases arising herein. The written
judgement conflicts with the Court's oral pronouncement of the sen-
tence-specifically, the written judgment fails to state that she
will receive credit for the time she served in custody before the
federal sentencing. Ms. Leedy understands, based on the oral pro-
nouncement, that she is entitled to receive credit for all of the
time that she served in custody from her initial arrest in 2015
until her sentencing hearing on July 15, 2016. According to the
Federal Bureau of Prisons, because the case number 2008-CR-11402
was not listed on the judgment they can not credit Defendant for
that time. Defendant remembers clearly the oral pronouncement at
sentencing was to include time spent in custody to run concurrent

with the above listed case. Therefore Defendant seeks an amendment

 
 

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to the written judgment to: (1) reflect "the Court's intent to
credit the months she had already served prior to her sentencing";
and (2) "conform the sentence to the Court's intentions pronounced
orally on July 15, 2016."

Wherefore, the Defendant prays this court will correct the
judgment and give her time served as pronounced at sentencing by
Judge Lynn.

Respectfully submitted this 13th day of September, 2020.

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FCO Aba
Nicole Leedy # 4989I-1//
SPC Aliceville

P.O. Box 487
Aliceville, AL. 35442

 

 
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CERTIFICATE OF SERVICE

This is to certify under penalty and perjury under the laws of the
United States of America pursuant to 28 U.S.C. §1746, that I have
served a true and correct copy of the foregoing to:

cL gop notion to correct clerical error pursuant to Rule 36
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apon- the following address(es) by placing in a sealed envelope,
bearing sufficient postage via the United States Postal Services to;

US District Court-Clerk US Attorney's Office
\\ 00 CommeRCe sx \\QO Commerce St
Dallas TX 1824 9- Dallas TX

and deposited it into the mailbox provided for inmates on the grounds
of the SPC Federal Correctional Institution Aliceville, Alabama on

this 13th day of Sept, 2020.

/ A . Y) 4
Ws acl KOOL
Nicole Leedy # ASSOC
SPC Aliceville

P.O. Box 487
Aliceville, AL 35442

 

Litigation is deemed FILED at the time it was delivered to prison
authorities. See Houston v. Lack 487 US 266, 101 L Ed 2d 245 108 S.
Ct. 2379(1988)

 
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